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     GREAT AMERICAN INSURANCE
 6 COMPANY OF NEW YORK

 7

 8                                       UNITED STATES DISTRICT COURT
 9                                     CENTRAL DISTRICT OF CALIFORNIA
10

11 GREAT AMERICAN INSURANCE                                            Case No. 2:21-cv-09581
   COMPANY OF NEW YORK, a
12 corporation;                                                        COMPLAINT FOR DAMAGE TO
                                                                       CARGO
13

14                        Plaintiff,                                   [AMOUNT DEMANDED DOES NOT
                                                                       EXCEED $25,000]
15
               v.                                                                  ($20,502.82)
16

17 PATSON LOGISTICS LIMITED, a
     foreign corporation; COSCO
18 SHIPPING LINES CO., LTD, a foreign
     corporation; COSCO SHIPPING
19 LINES (NORTH AMERICA) INC., a
     foreign corporation;
20 MEDITERRANEAN SHIPPING
     COMPANY S.A., a foreign
21 corporation; MEDITERRANEAN
     SHIPPING COMPANY (USA) INC., a
22 foreign corporation; and DOES ONE
     through TEN;
23

24
                          Defendants.
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27 / / /

28 / / /
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 1             Plaintiff’s complaint follows:
 2             1.         Plaintiff GREAT AMERICAN INSURANCE COMPANY OF NEW
 3 YORK (“GAICNY”), is now, and at all times material was, a corporation, duly

 4 organized and existing by virtue of law, and Plaintiff GAICNY was the insurer of

 5 the hereinafter described cargo.

 6             2.         Plaintiff is informed and believes, and on the basis of that information
 7 and belief alleges that, PATSON LOGISTICS LIMITED, a foreign corporation;

 8 COSCO SHIPPING LINES CO., LTD, a foreign corporation; COSCO SHIPPING

 9 LINES (NORTH AMERICA) INC., a foreign corporation; MEDITERRANEAN
10 SHIPPING COMPANY S.A., a foreign corporation; MEDITERRANEAN

11 SHIPPING COMPANY (USA) INC., a foreign corporation; and DOES ONE

12 through TEN (hereafter “Defendants”), are now and at all times herein material

13 were engaged in business as common carriers for hire within the United States and

14 within this judicial district.

15             3.         Plaintiff’s complaint contains a cause of action for damage to cargo
16 arising under a statute of the United States, namely the Carriage of Goods by Sea

17 Act (“COGSA”), 46 U.S.C. § 30701 Note, and is therefore within the jurisdiction of

18 this Court pursuant to 28 U.S.C. § 1331, as more fully appears herein. Additionally,

19 the Court has admiralty jurisdiction pursuant to 28 U.S.C. § 1333. Venue is proper

20 under 28 U.S.C. § 1391(b).

21             4.         This is a cause of action for damage to ocean cargo, and is an admiralty
22 and maritime claim within the meaning of Rule 9(h), Federal Rules of Civil

23 Procedure, as hereinafter more fully appears.

24             5.         Plaintiff is informed and believes, and on the basis of such information
25 and belief alleges that, on or about October 19, 2020, at Wuhan, China, Defendants

26 PATSON LOGISTICS LIMITED; COSCO SHIPPING LINES CO., LTD; COSCO

27 SHIPPING LINES (NORTH AMERICA) INC; DOES ONE through FIVE

28 (hereafter “PATSON/COSCO”), and each of them, received a shipment of garments
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 1 for carriage under bills of lading number SZ20101135, COSU6278608830, and

 2 others, issued by and/or on behalf of said defendants. PATSON/COSCO, and each

 3 of them, agreed, under contracts of carriage and in return for good and valuable

 4 consideration, to carry said cargo from Wuhan, China to San Juan, Puerto Rico, and

 5 there deliver said cargo to the lawful holder of the aforementioned bills of lading,

 6 and others, in the same good order, condition, and quantity as when received.

 7             6.         Thereafter, in breach of and in violation of said agreements,
 8 PATSON/COSCO, and each of them did not deliver said cargo in the same good

 9 order, condition, and quantity as when received at China. To the contrary, the cargo
10 was badly damaged while in the care, custody, and control of PATSON/COSCO.

11 As a result, the value of the cargo was depreciated in the amount of $5,390.64.

12 Plaintiff suffered an additional loss of $1,265.00, representing the cost to survey the

13 damaged cargo. Plaintiff has therefore been damaged by PATSON/COSCO in the

14 sum of $6,655.64, or another amount according to proof at trial, no part of which

15 has been paid, despite demand therefor.

16             7.         Plaintiff is further informed and believes, and on the basis of such
17 information and belief alleges that, on or about October 26, 2020, at Tianjin, China,

18 Defendants PATSON LOGISTICS LIMITED; MEDITERRANEAN SHIPPING

19 COMPANY S.A.; MEDITERRANEAN SHIPPING COMPANY (USA) INC.;

20 DOES SIX through TEN (hereafter “PATSON/MSC”), and each of them, received a

21 shipment of garments for carriage under bills of lading number SZ20101216,

22 MEDUT7379901, and others, issued by and/or on behalf of said defendants.

23 PATSON/MSC, and each of them, agreed, under contracts of carriage and in return

24 for good and valuable consideration, to carry said cargo from Tianjin, China to San

25 Juan, Puerto Rico, and there deliver said cargo to the lawful holder of the

26 aforementioned bills of lading, and others, in the same good order, condition, and

27 quantity as when received.

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 1             8.         Thereafter, in breach of and in violation of said agreements,
 2 PATSON/MSC, and each of them did not deliver said cargo in the same good order,

 3 condition, and quantity as when received at China. To the contrary, the cargo was

 4 badly damaged while in the care, custody, and control of PATSON/MSC. As a

 5 result, the value of the cargo was depreciated in the amount of $12,582.18. Plaintiff

 6 suffered an additional loss of $1,265.00, representing the cost to survey the damaged

 7 cargo. Plaintiff has therefore been damaged by PATSON/MSC in the sum of

 8 $13,847.18, or another amount according to proof at trial, no part of which has been

 9 paid, despite demand therefor.
10             9.         Prior to the shipments of the herein described cargo and prior to any
11 loss thereto, Plaintiff GAICNY issued its policy of insurance whereby Plaintiff

12 GAICNY agreed to indemnify the owner of the cargo and its assigns, against loss of

13 or damage to said cargo while in transit, including mitigation expenses, and Plaintiff

14 GAICNY has therefore become obligated to pay, and has paid to the persons entitled

15 to payment under said policy the combined sum of $20,502.82, on account of the

16 herein described losses.

17             10.        Plaintiff has therefore been damaged in the sum of $20,502.82, or
18 another amount according to proof at trial, no part of which has been paid, despite

19 demand therefor.

20             WHEREFORE, Plaintiff prays that this Court enter judgment in its favor and
21 against Defendants, and each of them; that this Court decree payment by Defendants

22 COSCO SHIPPING LINES CO., LTD; COSCO SHIPPING LINES (NORTH

23 AMERICA) INC; DOES ONE through FIVE, and each of them, to plaintiff in the

24 sum of $6,655.64; by Defendants MEDITERRANEAN SHIPPING COMPANY

25 S.A.; MEDITERRANEAN SHIPPING COMPANY (USA) INC.; DOES SIX

26 through TEN, and each of them, to plaintiff in the sum of $13,847.18; and by

27 Defendant PATSON LOGISTICS LIMITED to plaintiff in the combined sum of

28 $20,502.82, together with prejudgment interest thereon and costs of suit herein; and
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 1 that Plaintiff have such other and further relief as in law and justice it may be

 2 entitled to receive.

 3

 4                                                                     Respectfully submitted,
 5 Dated: December 10, 2021                                            GIBSON ROBB & LINDH LLP
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 7                                                                     /s/ JOSHUA E. KIRSCH
 8                                                                     Joshua E. Kirsch
                                                                       jkirsch@gibsonrobb.com
 9                                                                     Attorneys for Plaintiff
10                                                                     GREAT AMERICAN INSURANCE
                                                                       COMPANY OF NEW YORK
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